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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  INCARCERATED ENTERTAINMENT,                )
  LLC., a Florida Limited Liability          )
  Corporation, and EFRAIM DIVEROLI,          )
  an individual,                             )
                                             )
         Plaintiffs,                         )        Case No.: 18-cv-21991 SCOLA
                                             )
  v.                                         )
                                             )
  MATTHEW BEVAN COX,                         )
  an individual,

        Defendant.
  ___________________________________

  MATTHEW BEVAN COX,                         )
  an individual,                             )
                                             )
         Counter-Plaintiff,                  )
                                             )
  v.                                         )
                                             )
  INCARCERATED ENTERTAINMENT,                )
  LLC., a Florida Limited Liability          )
  Corporation; EFRAIM DIVEROLI, an           )
  individual; WARNER BROS.                   )
  PICTURES, a division of WB STUDIO          )
  ENTERPRISES, INC.; and the ESTATE          )
  OF ROSS REBACK,                            )

        Counter-Defendants.
  ___________________________________


   COUNTER-DEFENDANT WARNER’S MOTION FOR CLARIFICATION OF ORDER
                        DATED JULY 18, 2018

         Counter-defendant Warner Bros. Pictures (“Warner”), by and through its undersigned

  counsel, moves for clarification of the Order entered on July 18, 2018. The grounds for this

  motion are set forth in the following memorandum.
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                                     MEMORANDUM OF LAW

           1.     On May 18, 2018, plaintiffs Incarcerated Entertainment, LLC and Efraim Diveroli

  (collectively, “IE”) filed this action against Cox. Dkt. 1.

           2.     On June 25, 2018, Cox filed his answer to IE’s complaint. Dkt. 6. That same

  day, Cox separately filed his counterclaims against IE, Dkt. 7, including a counter-complaint

  alleging four causes of action against Warner, id. ¶¶ 247-76.

           3.     Warner believed its deadline to respond or otherwise file its responsive pleading

  to Cox’s claims against it was July 17, 2018 (21 days from June 26, 2018). Cox’s deadline to

  file an amended complaint against Warner would also have been July 17, 2018.

           4.     On July 13, 2018, Warner filed a Consent Motion that Cox should be permitted

  until October 1, 2018 to file an amended counter-complaint against it. (Dkt. 9).1 That agreement

  was intended to conserve judicial resources, as Warner otherwise intended to move to strike or

  dismiss Cox’s complaint. Indeed, Cox and Warner agreed to the extension after the parties met

  and conferred about Warner’s intention to file a motion to strike Cox’s complaint on the grounds

  that the complaint fails to put forth “simple, concise, and direct” allegations against Warner as

  required by Rule 8(d)(1). The necessary corollary of that motion was that the time for Warner to

  respond to Cox’s claims against it would be extended until such time as Cox served an amended

  counter-complaint.

           5.     In its Order dated July 18, 2018, the Court stated that it believed that the claims

  against Warner may not have properly been asserted in this case, and ordered Cox to show cause

  by August 8, 2018 how they were properly raised.              The Court further ordered “counter-

  defendants” to file their response to Cox’s counterclaims on or before July 27, 2018.

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         On July 16, 2018, Warner filed a corrected motion. (Dkt. 10.)
                                                   1
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         6.      Warner believes, but is uncertain, that the reference to a response by “counter-

  defendants” refers only to IE and Diveroli (who are parties to the original complaint) and not to

  Warner.

         7.      Cognizant of the Court’s busy schedule, Warner seeks clarification that the July

  18 Order does not require it to respond to Cox’s claims against it by July 27, 2018.

         8.      The extension will not affect any trial court deadlines or prejudice any party.

         WHEREFORE, Warner respectfully requests that this Court clarify its July 18 Order that

  Warner does not need to respond to the “counterclaim” on July 27, 2018.

                                LOCAL RULE 7.1(A) CERTIFICATION

         Pursuant to Local Rule 7.1, Warner will confer with Cox (who is incarcerated, which

  delays communications with him) regarding the relief sought in this motion and will file an

  updated certificate of conference.

  Dated: July 19, 2018                                 Respectfully submitted,

                                                       By: /s/ Matt Kline

                                                       Matt Kline, Esq. (pro hac vice forthcoming)
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                                                       and

                                                       /s/ Mary Ruth Houston
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                                           Attorneys for Counter-Defendant Warner
                                           Bros. Pictures




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 19, 2018, I caused to be served a copy of the foregoing

  document upon all counsel of record via the CM/ECF system for the United States District Court

  for the Southern District of Florida.

          I further certify that I mailed the foregoing document and the notice of electronic filing

  by first-class mail to the following non-CM/ECF participant:

  Matthew B. Cox
  Register No. 40171-018
  Federal Correctional Complex Coleman-Low
  P.O. Box 1031
  Coleman, Florida 33521

                                                       /s/ Mary Ruth Houston
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